                 Case 8:11-cv-01509-RWT Document 24 Filed 10/05/11 Page 1 of 1



                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

     ROGER W. TITUS                                                                    6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                         GREENBELT, MARYLAND 20770
                                                                                              301-344-0052


                                           MEMORANDUM

       TO:            Counsel of Record

       FROM:          Judge Roger W. Titus

       RE:            Stankov v. PNC Bank, National Association
                      Civil Case No.: RWT-11-1509

       DATE:          October 5, 2011

                                                 *********

             To accommodate a change in the Court’s calendar, the hearing on Defendant’s Motion to
       Dismiss previously scheduled for October 14, 2011 at 2:00 p.m. is hereby RESCHEDULED for
       December 15, 2011 at 1:00 p.m.

               Despite the informal nature of this ruling, it shall constitute an Order of the Court, and the
       Clerk is directed to docket it accordingly.



                                                                     /s/
                                                                ROGER W. TITUS
                                                          UNITED STATES DISTRICT JUDGE
